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 Attorney for Plaintiff
 HB Productions, Inc.,

                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,                    )   Case No.: 1:19-cv-389
                                           )   (Copyright)
                      Plaintiff,           )
      vs.                                  )   COMPLAINT; EXHIBITS 1-2;
                                           )   DECLARATION OF STEPHANIE
  JOHN DOE dba YTS and                     )   KESSNER
  DOES 1-19                                )
                                           )   (1) CONTRIBUTORY
                      Defendants.          )       COPYRIGHT
                                           )       INFRINGEMENT
                                           )   (2) INTENTIONAL
                                           )       INDUCEMENT
                                           )   (3) DIRECT COPYRIGHT
                                           )       INFRINGEMENT

                                     COMPLAINT

           Plaintiff HB Productions, Inc. (“Plaintiff”) file this Complaint against

 Defendants JOHN DOE dba YTS and DOES 1-19 (sometimes referred to

 collectively as “Defendants”) and alleges as follows:

                           I.      NATURE OF THE ACTION



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           1.    Plaintiff brings this action to stop the massive piracy of its motion

 picture Hellboy brought on by websites under the collective names YTS and their

 users.

           2.    To halt Defendants’ illegal activities, Plaintiff brings this action under

 the United States Copyright Act of 1976, as amended, 17 U.S.C. §§ 101, et seq. (the

 Copyright Act”) and alleges that Defendants are liable for inducement, and direct

 and contributory copyright infringement in violation of 17 U.S.C. §§ 106 and 501.

                          II.    JURISDICTION AND VENUE

           3.    This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

           4.    Defendants solicit, transact, or are doing business within this

 jurisdiction, and have committed unlawful and tortious acts both within and outside

 this jurisdiction with the full knowledge that their acts would cause injury in this

 jurisdiction.

           5.    Defendant JOHN DOE causes harm to Plaintiff’s business within this

 District by diverting customers in this District to unauthorized Internet-based content

 distribution services through, at least, the interactive websites branded under the

 name “YTS”, particularly yts.lt.

           6.    Defendant JOHN DOE has designed its interactive websites to

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 individually target Hawaii users based upon their personal information such as web

 browsing history.

           7.    Upon information and belief, Defendant JOHN DOE collects log files

 including the Internet Protocol (“IP”) address, Internet Service Provider (“ISP”) and

 browser type of each user who visits its interactive websites.

           8.    Upon information and belief, Defendant JOHN DOE uses cookies and

 web beacons to store information such as personal preferences of users who visit its

 websites.




           9.    Upon information and belief, Defendant JOHN DOE obtains financial

 benefit from its users in Hawaii via third party advertisements such as Google

 through the Google AdSense program.

           10.   Upon information and belief, Defendant JOHN DOE uses the cookies,

 log files and/or web beacons to narrowly tailor the website viewing experience to

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 the geolocation of the user. Particularly, users in Hawaii receive advertisements

 based upon their location and websites they have previously visited.




           11.   Particularly, Defendant JOHN DOE encourages its users to register an

 account with YTS to post comments, make requests for more pirated content and

 block the advertisements.




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           12.   In the alternative, the Court has jurisdiction of Defendant JOHN DOE

 pursuant to Fed. R. Civ. P. 4(k)(2), the so-called federal long-arm statute, for at least

 the following reasons: (1) Plaintiff’s claims arise under federal law; (2) the

 Defendant JOHN DOE purposely directed its electronic activity into the United

 States and targets and attract a substantial number of users in the United States and,

 more particularly, this District; (3) Defendant JOHN DOE does so with the manifest

 intent of engaging in business or other interactions with the United States; (4) the

 Defendant JOHN DOE is not subject to jurisdiction in any state’s courts of general

 jurisdiction; and (5) exercising jurisdiction is consistent with the United States

 Constitution and laws.

           13.   Defendant JOHN DOE uses or has used many United States based

 sources for operating its interactive websites such as the Internet hosting and

 nameserver company Cloudflare, Inc. (California), the Internet server companies

 Digital Ocean, Inc. (New York), Level 3 Communications, Inc. (Colorado), Digital

 Management Partners, LLC dba GigeNET (Illinois), QuadraNet, Inc. (California),

 and Hurricane Electric Internet Services (California).

           14.   Defendant JOHN DOE further uses the Virtual Private Network

 (“VPN”) provider London Trust Media (Colorado) and even the The Onion Router

 (“TOR”) exit relays of the US Naval Research Labs in Washington, DC to conceal

 its login records to its Cloudflare account when operating the interactive websites.

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           15.   Upon information and belief, Defendant JOHN DOE uses the email

 service “Hotmail” owned by Microsoft, Inc. (Washington) to operate its interactive

 websites. Particularly, Defendant JOHN DOE used the so-called tunneling service

 of Hurricane Electric Internet service to tunnel its true IPv4 address to an IPv6

 address, thereby adding a further layer of subterfuge to conceal its true identity when

 logging it to its Cloudflare account.

           16.   Defendant JOHN DOE promotes overwhelmingly if not exclusively

 motion pictures produced by United States companies on its interactive websites.

           17.   Defendant   JOHN     DOE        promotes   Plaintiff’s   motion   picture

 prominently on its website to attract new users.




           18.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the
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 claims occurred in this District; and (c)(3) any of the Defendants not a resident of

 the United States may be sued in this District.

                                     III.   PARTIES

                                     A. The Plaintiff
           19.   The Plaintiff is a corporation organized and existing under the laws of

 the State of Nevada.        The Plaintiff has its principal offices in Los Angeles,

 California.

           20.   Plaintiff is the owner of the copyright for the motion picture in the

 Work “Hellboy”, (hereafter: the “Work”) a major motion picture released in 2018.

           21.   The Work is an action movie starring David Harbour, Milla Jovovich,

 IanMcShane. The Work tells the story of a legendary half-demon superhero called

 to the English countryside to battle a trio of rampaging giants where he suddenly

 becomes caught in a clash between the supernatural and the human.

           22.   The Plaintiff is an affiliate of Millennium Media, a production

 company and distributor of a notable catalog of major motion pictures, including,

 among others, Rambo, The Expendables, Olympus Has Fallen and London Has

 Fallen. See www.millenniumfilms.com.

                                      B. The Defendants

           23.   Defendant JOHN DOE operates an interactive website http://yts.lt

 (hereafter: “YTS website”) which includes a library of torrent files for copyright

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 protected motion pictures, including Plaintiff’s. The torrent files can be used by a

 BitTorrent client application to download motion pictures for free.           Upon

 information and belief, Defendant JOHN DOE previously operated the websites

 yts.ag and yts.am which all now redirect to the YTS website.

           24.   Upon information and belief, the name YTS mentioned in Defendant

 JOHN DOE’s YTS website is an abbreviation of YIFY Torrent Solutions. The

 name YIFY is derived from the name Yiftach Swery, the founder of YIFY Torrent

 Solutions.

           25.   Defendant JOHN DOE states on the YTS website, “Here you will be

 able to browse and download YIFY movies in excellent 720p, 1080p and 3D

 quality…”




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           26.   The YTS website of Defendant JOHN DOE is considered one of the

 most popular torrent sites in world. See https://torrentfreak.com/top-10-most-

 popular-torrent-sites-of-2019/ [last accessed on July 19, 2019].

           27.   Defendant JOHN DOE creates the torrent files made available on the

 YTS websites.

           28.   Upon information and belief, Defendant JOHN DOE uses a process

 referred to as “ripping” to create a copy of motion pictures from either Blu-ray or

 legal streaming services.

           29.   Defendant JOHN DOE includes the words such as [YTS.AM] or

 [YTS.LT] or at least the wording YTS in the titles of each of the torrent files it

 creates in order to enhance its reputation for the quality of its torrent files and attract

 users to its interactive YTS website.

           30.   The true names and capacities, whether individual, corporate, associate

 or otherwise, of Defendant JOHN DOE is unknown to Plaintiff who therefore sues

 said Defendant by a fictitious name. Defendant JOHN DOE is known to the

 Plaintiff only by the website where it induces and contributes to infringements of

 Plaintiff’s Work.

           31.   As of July 19, 2019, the whois search records for the registrant of the

 YTS website (yts.lt) show registrant name of “TechModo Limited” at 85 Great

 Portland Street, First Floor, London W1W 7LT, in England.                              See

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  https://www.domreg.lt/en/services/whois/?search=yts.lt [Last Accessed on July 19,

  2019.




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            32.   The Company Techmodo Limited was declared dissolved by the

  Registrar of Companies for England and Wales on April 30, 2019.

            33.   Cloudflare, Inc. provides hosting and nameserver service for the

  interactive websites of Defendant JOHN DOE.

            34.   Defendant JOHN DOE logged into its Cloudflare account from IP

  address 2001:470:b07e:0:d83a:a3ff:fe5e:ca (“IPv6 address”) on 2018-09-19

  12:27:05.71563 UTC.         The IPv6 address belongs to the California company

  Hurricane Electric Internet Services (“Hurricane”).

            35.   Hurricane has indicated that an individual who identified himself by a

  verified Hotmail email address from a location in Ontario, Canada subscribed for

  the so-called tunneling service with Hurricane to tunnel its true IPv4 address to the

  IPv6 address of Hurricane.

            36.   Hurricane indicates that JOHN DOE’s true IPv4 address is

  24.36.252.95.

            37.   Publicly available information indicates that the IPv4 address

  24.36.252.95 belongs to the Canadian Internet Service Provider Cogeco Cable

  Canada Inc. in Ontario.

            38.   Upon information and belief, the subscriber at IPv4 address

  24.36.252.95 in Ontario, Canada is at least one of the operators of the YTS website.

            39.   Plaintiffs intends to subpoena Microsoft and request that the Court

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  issue a letter of request to Canada in order to learn the identity of Defendant JOHN

  DOE.

            40.   Upon information and belief, the Defendants DOES 1-19 are users of

  the interactive websites of Defendant JOHN DOE.

            41.   The Defendants DOES 1-19 are members of a group of BitTorrent

  users or peers whose computers are collectively interconnected for the sharing of a

  particular unique file, otherwise known as a “swarm”.         The particular file a

  BitTorrent swarm is associated with has a unique “hash” number, which in this case

  is: SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4 (the “Unique

  Hash Number”). The file name is Hellboy (2019) [WEBRip] [1080p] [YTS.LT].

            42.   Upon information and believe, Each of the Defendants DOES 1-19

  received from Plaintiff’s agent at least a first notice per 17 U.S.C. 512(a) of the

  Digital Millennium Copyright Act (“DMCA notice”) requesting the individual to

  stop infringement of the Work or other Works via BitTorrent protocol.

            43.   Charter Communications LLC dba Spectrum (“Spectrum”) provides

  the Internet service for Defendants DOES 1-19.        Plaintiff intends to subpoena

  Spectrum in order to learn the subscriber identities of Defendants DOES 1-19.

  Further discovery may be necessary in some circumstances in order to be certain of

  the identity of the proper Defendant. Plaintiff believes that information obtained in

  discovery will lead to the identification of each Defendant’s true names and permit

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  the Plaintiff to amend this Complaint to state the same. Plaintiff further believes

  that the information obtained in discovery may lead to the identification of

  additional infringing parties to be added to this Complaint as Defendants. Plaintiff

  will amend this Complaint to include the proper names and capacities when they

  have been determined. Plaintiff is informed and believes, and based thereon allege,

  that each of the fictitiously named Defendants participated in and are responsible

  for the acts described in this Complaint and damages resulting therefrom.

                                     IV.   JOINDER

            44.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

  right to relief arising out of the same transaction, occurrence, or series or

  transactions, namely (i) the distribution of the torrent file associated with Plaintiff’s

  Work via the YTS website of Defendant JOHN DOE to Defendants DOES 1-19; (ii)

  the inducement by Defendant JOHN DOE of the direct infringements of Defendants

  DOES 1-19; and (iii) the infringement complained of herein by each of the

  Defendants was part of a series of transactions over the course of a relatively short

  period of time, involving the exact same piece of the Plaintiff’s copyrighted Work,

  and was accomplished by the Defendants acting in concert with each other; and (b)

  there are common questions of law and fact.

                           V.    FACTUAL BACKGROUND

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            A. The Plaintiff Owns the Copyright to the Work

            45.   The Plaintiff is the owner of the copyright in the Work. The Work is

  the subject of a copyright registration, and this action is brought pursuant to 17

  U.S.C. § 411. See Exhibit “2”.

            46.   The Work is a motion picture currently offered for sale in commerce.

            47.   Defendants had notice of Plaintiff’s rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright notices.

            48.   Defendants also had notice of Plaintiff’s rights through general

  publication and advertising associated with the motion picture, and packaging and

  copies, each of which bore a proper copyright notice.

            B. Defendants Used BitTorrent To Infringe the Plaintiff’s Copyright

            49.   BitTorrent is one of the most common peer-to-peer file sharing

  protocols (in other words, set of computer rules) used for distributing large amounts

  of data.

            50.   The BitTorrent protocol’s popularity stems from its ability to distribute

  a large file without creating a heavy load on the source computer and network. In

  short, to reduce the load on the source computer, rather than downloading a file

  from a single source computer (one computer directly connected to another), the

  BitTorrent protocol allows users to join a "swarm" of host computers to download

  and upload from each other simultaneously (one computer connected to numerous
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  computers).

            1. Defendants DOES 1-19 installed a BitTorrent Client onto his or her

  Computer

            51.   A BitTorrent Client is a software program that implements the

  BitTorrent Protocol. There are numerous such software programs which can be

  directly downloaded from the Internet.

            52.   Once installed on a computer, the BitTorrent Client serves as the user’s

  interface during the process of uploading and downloading data using the BitTorrent

  protocol.

            53.   Defendants DOES 1-19 installed a BitTorrent Client onto their

  respective computer.

            2. The Initial Seed, Torrent, Hash and Tracker

            54.   A BitTorrent user that wants to upload a new file, known as an “initial

  seeder,” starts by creating a “torrent” descriptor file using, for example, the Client

  he or she installed onto his or her computer.

            55.   The Client takes the target computer file, the “initial seed,” here the

  copyrighted Work, and divides it into identically sized groups of bits known as

  “pieces.”

            56.   The Client then gives each one of the computer file’s pieces, in this


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  case, pieces of the copyrighted Work, a random and unique alphanumeric identifier

  known as a “hash” and records these hash identifiers in the torrent file.

            57.   When another peer later receives a particular piece, the hash identifier

  for that piece is compared to the hash identifier recorded in the torrent file for that

  piece to test that the piece is error-free. In this way, the hash identifier works like

  an electronic fingerprint to identify the source and origin of the piece and that the

  piece is authentic and uncorrupted.

            58.   Torrent files also have an "announce" section, which specifies the URL

  (Uniform Resource Locator) of a “tracker,” and an "info" section, containing

  (suggested) names for the files, their lengths, the piece length used, and the hash

  identifier for each piece, all of which are used by Clients on peer computers to verify

  the integrity of the data they receive.

            59.   The “tracker” is a computer or set of computers that a torrent file

  specifies and to which the torrent file provides peers with the URL address(es).

            60.   The tracker computer or computers direct a peer user’s computer to

  other peer user’s computers that have particular pieces of the file, here the

  copyrighted Work, on them and facilitates the exchange of data among the

  computers.

            61.   Depending on the BitTorrent Client, a tracker can either be a dedicated

  computer (centralized tracking) or each peer can act as a tracker (decentralized

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  tracking.)

            3. Torrent Sites

            62.   “Torrent sites” are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. There are numerous torrent websites.

            63.   Upon information and belief, Defendants went to a torrent site to

  upload and download Plaintiff’s copyrighted Work.

            64.   Upon information and belief, Defendants DOES 1-19 went to the

  torrent site YTS of Defendant JOHN DOE to download Plaintiff’s copyrighted

  Work.

            4. Uploading and Downloading a Work Through a BitTorrent Swarm

            65.   Once the initial seeder has created a torrent and uploaded it onto one

  or more torrent sites, then other peers begin to download and upload the computer

  file to which the torrent is linked (here the copyrighted Work) using the BitTorrent

  protocol and BitTorrent Client that the peers installed on their computers.

            66.   The BitTorrent protocol causes the initial seeder’s computer to send

  different pieces of the computer file, here the copyrighted Work, to the peers

  seeking to download the computer file.

            67.   Once a peer receives a piece of the computer file, here a piece of the

  copyrighted Work, it starts transmitting that piece to the other peers.

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            68.   In this way, all of the peers and seeders are working together in what

  is called a “swarm.”

            69.   Here, Defendants participated in the same swarm and directly

  interacted and communicated with other members of that swarm through digital

  handshakes, the passing along of computer instructions, uploading and

  downloading, and by other types of transmissions.

            70.   In this way, and by way of example only, one initial seeder can create

  a torrent that breaks a movie up into hundreds or thousands of pieces saved in the

  form of a computer file, like the Work here, upload the torrent onto a torrent site,

  and deliver a different piece of the copyrighted Work to each of the peers. The

  recipient peers then automatically begin delivering the piece they just received to

  the other peers in the same swarm.

            71.   Once a peer has downloaded the full file, the BitTorrent Client

  reassembles the pieces and the peer is able to view the movie. Also, once a peer has

  downloaded the full file, that peer becomes known as “an additional seed,” because

  it continues to distribute the torrent file, here the copyrighted Work.

            5. The Plaintiff’s Computer Investigator Identified the Defendants’ IP

            Addresses as Participants in a Swarm That Was Distributing the Plaintiff’s

            Copyrighted Work

            72.   The Plaintiff retained Maverickeye UG (“MEU”) to identify the IP

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  addresses that are being used by those people that are using the BitTorrent protocol

  and the Internet to reproduce, distribute, display or perform the Plaintiff’s

  copyrighted Work.

            73.   MEU used forensic software to enable the scanning of peer-to-peer

  networks for the presence of infringing transactions.

            74.   MEU extracted the resulting data emanating from the investigation,

  reviewed the evidence logs, and isolated the transactions and the IP addresses

  associated therewith for the files identified by the SHA-1 hash value of the Unique

  Hash Number.

            75.   The IP addresses, Unique Hash Number, and hit dates contained on

  Exhibit “1” accurately reflect what is contained in the evidence logs, and show that

  Defendants DOES 1-19 have copied a piece of the Plaintiff’s copyrighted Work

  identified by the Unique Hash Number.

            76.   The Defendants DOES 1-19’s computers used the identified IP address

  to connect to the investigative server from a computer in this District in order to

  transmit a full copy, or a portion thereof, of a digital media file identified by the

  Unique Hash Number.

            77.   MEU’s agent analyzed each BitTorrent “piece” distributed by the IP

  address listed on Exhibit 1 and verified that re-assemblage of the pieces using a

  BitTorrent Client results in a fully playable digital motion picture of the Work.

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            78.   MEU’s agent viewed the Works side-by-side with the digital media

  file that correlates to the Unique Hash Number and determined that they were

  identical, strikingly similar or substantially similar.

            C. Defendant JOHN DOE is the initial Seeder of the Work

            79.   Defendant JOHN DOE was the initial seeder who copied the Work and

  created the torrent file “Hellboy (2019) [WEBRip] [1080p] [YTS.LT]”. Exhibit

  “1”.

            80.   Accordingly, Defendant JOHN DOE is the initial contributor and

  create of the Swarm identified by the Unique Hash Number.

            81.   Defendant JOHN DOE does not have a license from Plaintiff to copy

  Plaintiff’s Work.

            D. Defendant JOHN DOE distributes the torrent file of the Work

            82.   Defendant JOHN DOE has made the torrent file “Hellboy (2019)

  [WEBRip] [1080p] [YTS.LT]” available to users in Hawaii such as Defendants

  DOES 1-19, the United States and the entire World to download from its interactive

  YTS website.

            83.   Defendant JOHN DOE does not have a license from Plaintiff to

  distribute copies of Plaintiff’s Work.

            E. Defendant JOHN DOE induces infringements of the Work

            84.   Users of the Defendant JOHN DOE’s interactive website use the

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  website for its intended and unquestionably infringing purposes, most notably to

  obtain immediate, unrestricted, and unauthorized access to unauthorized copies of

  Plaintiff’s Copyrighted Work.

            85.   Defendant JOHN DOE promotes its website for overwhelmingly, if

  not exclusively, infringing purposes, and that is how the users use the websites.

            86.   The commercial value of Defendant JOHN DOE’s website depends on

  high-volume use of unauthorized content through the website. Defendant JOHN

  DOE promises its users reliable and convenient access to all the content they can

  watch and users visit the websites based on Defendant JOHN DOE’s apparent

  success in delivering infringing content to its customers.


                            VI. FIRST CLAIM FOR RELIEF
                  (Intentional Inducement – Against Defendant JOHN DOE)

            87.   Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            88.   Plaintiff is the copyright owner of the Work which contains an original

  work of authorship.

            89.   Defendant JOHN DOE has actual knowledge of third parties’

  infringement of Plaintiff’s exclusive rights under the Copyright Act.

            90.   Defendant JOHN DOE intentionally induced the infringement of

  Plaintiff’s exclusive rights under the Copyright Act, including infringement of

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  Plaintiff’s exclusive right to publicly distribute copies of Copyrighted Works.

            91.   As intended and encouraged by Defendant JOHN DOE, the website

  provides torrent files that connect users to Torrent sources and/or sites that deliver

  copies of Plaintiff’s Copyrighted Works. The operators of these Torrent sources

  directly infringe Plaintiff’s exclusive rights by providing unauthorized copies of the

  works to the public, including to users of Defendant JOHN DOE’s website.

            92.   Once the user of Defendant JOHN DOE’s website has obtained a

  complete copy of the Plaintiff’s Copyrighted Works, that particular user also

  becomes another Torrent source that delivers copies of Plaintiff’s Copyrighted

  Works.

            93.   Defendant JOHN DOE induces the aforementioned acts of

  infringement by supplying the torrent file that facilitates, enables, and creates direct

  links between its users and the infringing Torrent source, and by actively inducing,

  encouraging and promoting the use of the website for blatant copyright infringement.

            94.   Defendant JOHN DOE’s intentional inducement of the infringement of

  Plaintiff’s rights in its Copyrighted Work constitutes a separate and distinct act of

  infringement.

            95.   Defendants JOHN DOE’s inducement of the infringement of Plaintiff’s

  Copyrighted Work is willful, intentional, and purposeful, and in disregard of and

  with indifference to the rights of Plaintiff.

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            96.   Defendant JOHN DOE’s actions are a direct and proximate cause of the

  infringements of Plaintiff’s Work.

                             VII. SECOND CLAIM FOR RELIEF
                   (Contributory Copyright Infringement based upon Material
                        Contribution – Against Defendant JOHN DOE)

            97.   Plaintiff re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            98.   Defendant JOHN DOE has actual or constructive knowledge of

  infringement of Plaintiff’s exclusive rights under the Copyright Act. Defendants

  JOHN DOE knowingly and materially contributes to such infringing activity.

            99.   Defendant JOHN DOE knowingly and materially contributes to the

  infringement of Plaintiff’s exclusive rights under the Copyright Act, including

  infringement of Plaintiff’s exclusive right to distribute the Work. Defendant JOHN

  DOE designs and promotes the use of the YTS website to provide torrent files that

  connect customers to unauthorized online torrent sources to download copies of

  Plaintiff’s Copyrighted Work. The operators of these torrent sources directly

  infringe Plaintiff’s distribution rights by providing copies of the Work to the public,

  including to YTS website users. The operators, or others operating in concert with

  them, control the facilities and equipment used to store and deliver copies of the the

  content, and they actively and directly cause the content to be distributed when users

  run the torrent file obtained from the YTS website.

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            100. Defendant JOHN DOE knowingly and materially contributes to the

  aforementioned acts of infringement by supplying the website that facilitates,

  encourages, enables, and creates direct links between website users and infringing

  operators of the Torrent services, and by actively encouraging, promoting, and

  contributing to the use of the website for blatant copyright infringement.

            101. Defendants JOHN DOE’s knowing and material contribution to the

  infringement of Plaintiff’s rights in the Copyrighted Work constitutes a separate and

  distinct act of infringement.

            102. Defendant JOHN DOE’s knowing and material contribution to the

  infringement of Plaintiff’s Copyrighted Work is willful, intentional, and purposeful,

  and in disregard of and with indifference to the rights of Plaintiff.

            103. As a direct and proximate result of the infringement to which Defendant

  JOHN DOE knowingly and materially contributes, Plaintiff is entitled to damages

  and Defendant JOHN DOE’s profits in amounts to be proven at trial.

            104. Defendant JOHN DOE obtained a direct financial interest, financial

  advantage, and/or economic consideration from the infringements in Hawaii as a

  result of their infringing actions in the United States.

            105. Defendant JOHN DOE’s actions are a direct and proximate cause of the

  infringements of Plaintiff’s Work.

                              VIII. THIRD CLAIM FOR RELIEF
                (Contributory Copyright Infringement against all Defendants based
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                            upon participation in the BitTorrent Swarm)


            106. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            107. By participating in the BitTorrent swarm with others, Defendants

  induced, caused or materially contributed to the infringing conduct of others.

            108. Plaintiffs did not authorize, permit, or provide consent to the

  Defendants inducing, causing, or materially contributing to the infringing conduct

  of others.

            109. Defendants knew or should have known that the other BitTorrent users

  in a swarm with it were directly infringing the Plaintiff’s copyrighted Work by

  copying constituent elements of the registered Work that are original. Indeed,

  Defendants directly participated in and therefore materially contributed to others’

  infringing activities.

            110. The Defendants’ infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

            111. By engaging in the contributory infringement alleged in this

  Complaint, the Defendants deprived not only the producer of the Work from income

  that could have been derived when this film was shown in public theaters and

  offered for sale or rental, but also all persons involved in the production and

  marketing of this film, numerous owners of local theaters and retail outlets in
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  Hawai’i and their employees, and, ultimately, the local economy. The Defendants’

  misconduct therefore offends public policy.

            112. The Plaintiff has suffered damages that were proximately caused by

  the Defendants’ contributory copyright infringement including, but not limited to

  lost sales, price erosion, and a diminution of the value of its copyright.

                              IX. FOURTH CLAIM FOR RELIEF
                     (Direct Copyright Infringement against all Defendants)

            113. Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            114. Plaintiff is the copyright owner of the Work which contains an original

  work of authorship.

            115. Defendant JOHN DOE copied the constituent elements of the Work

  when creating the torrent file.

            116. Defendant DOES 1-19 copied the constituent elements of the Work.

            117. Plaintiff did not authorize, permit, or provide consent to Defendants to

  copy, reproduce, redistribute, perform, or display their Works.

            118. As a result of the foregoing, Defendants violated the Plaintiff’s

  exclusive right to: (A) Reproduce the Work in copies, in violation of 17 U.S.C. §§

  106(1) and 501; (B) Redistribute copies of the Work to the public by sale or other

  transfer of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§

  106(3) and 501; (C) Perform the copyrighted Work, in violation of 17 U.S.C. §§
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  106(4) and 501, by showing the Work’s images; and, (D) Display the copyrighted

  Work, in violation of 17 U.S.C. §§ 106(5) and 501, by showing individual images

  of the Work non-sequentially and transmitting said display of the Work by means

  of a device or process to members of the public capable of receiving the display (as

  set forth in 17 U.S.C. § 101’s definition of “publicly” display.)

            119. Each of the Defendants’ infringements was committed “willfully”

  within the meaning of 17 U.S.C. § 504(c)(2).

            120. The Plaintiffs have suffered damages that were proximately caused by

  each of the Defendants’ copyright infringements including, but not limited to lost

  sales, price erosion, and a diminution of the value of its copyright.

                                  PRAYER FOR RELIEF

            WHEREFORE, the Plaintiff respectfully requests that this Court:

            (A) enter temporary, preliminary and permanent injunctions enjoining each

  Defendant from continuing to directly infringe and contribute to infringement of the

  Plaintiffs’ copyrighted Works;

            (B) Entry of an Order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

  that, Cloudflare and any other service provider cease providing service for the

  website: (i) yts.lt; and (iii) any mirror websites in concert with yts.lt such as, but not

  limited to yts.am and yts.ag, immediately cease said service;

            (C) that, upon Plaintiff’s request, those in privity with Defendants and those

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  with notice of the injunction, including any Internet search engines, Web hosts,

  domain-name registrars, and domain name registries and/or their administrators that

  are provided with notice of the injunction, cease facilitating access to any or all

  domain names and websites through which Defendant JOHN DOE engages in the

  aforementioned infringements;

            (D) award the Plaintiff’s actual damages and Defendants’ profits in such

  amount as may be found; alternatively, at Plaintiff’s election, for maximum statutory

  damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

            (E) award the Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

  U.S.C. § 505; and

            (F) grant the Plaintiff any and all other and further relief that this Court deems

  just and proper.

            The Plaintiff hereby demands a trial by jury on all issues properly triable by

  jury.

            DATED: Kailua-Kona, Hawaii, July 19, 2019.


                                       CULPEPPER IP, LLLC


                                       /s/ Kerry S. Culpepper
                                       Kerry S. Culpepper

                                       Attorney for Plaintiff
                                       HB Productions, Inc.

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